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                             EXHIBIT 19

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
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 1                 UNITED STATES DISTRICT COURT
 2                 EASTERN DISTRICT OF LOUISIANA
 3
      IN RE: OIL SPILL                       MDL NO. 2179
 4    BY THE OIL RIG
      "DEEPWATER HORIZON"                    SECTION:      J
 5    IN THE GULF OF
      MEXICO, ON                             JUDGE BARBIER
 6    APRIL 20, 2010                         MAG. JUDGE SHUSHAN
 7
 8
 9




15
16                                VOLUME 1
17
18                   Deposition of ROBERT QUITZAU, 1910
19    Driscoll Street, Houston, Texas 77019, taken
20    in the Ponchartrain Room, 601 Poydras Street,
21    New Orleans, Louisiana 70130, on Wednesday,
22    May 25th, 2011.
23
24
25

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 1    ANA-MDL-000000117 to 118.               It's Tab 3.        Do
 2    you recall receiving this e-mail in or about
 3    March 11, 2010?
 4             A.        I don't recall exactly receiving
 5    it, but I trust that I did.
 6             Q.        And this is an e-mail to you
 7    from Halliburton Central Data Hub, correct?
 8             A.        Correct.
 9             Q.        It's advising you that you've
10    been granted access to MC252 No. 1 Macondo
11    WellSpace?
12             A.        That's correct.
13             Q.        And is that consistent with your
14    memory that you obtained access to Macondo
15    WellSpace in or around March 11?
16             A.        Yes.
17             Q.        So I think earlier you testified
18    a little bit about the kinds of information
19    that Anadarko downloaded or could download
20    from WellSpace.           Can you tell me again the
21    kinds of documents that were available, at
22    least that Anadarko was looking at?
23             A.        Daily operating reports, mudlog
24    reports, pore pressure frac gradient
25    reports.       There were various forms of logs

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 1    that people could download.
 2             Q.        Wireline information?
 3             A.        Wireline logs and LWD logs.
 4             Q.        Geological reports?
 5             A.        Geological reports.
 6             Q.        Shallow hazard reports?
 7             A.        Shallow hazard reports.
 8             Q.        What is a pore pressure frac
 9    report?
10             A.        BP posted, I guess they call it
11    pp/fg and there was something else behind
12    the title that summarizes their assessment
13    of the pore pressures and fracture gradients
14    that their various experts are monitoring
15    and tracking as they drill the well.
16             Q.        How did Anadarko use the
17    information that it obtained from WellSpace?
18            MS. WILMS:
19                   Object to form.
20            THE WITNESS:
21                   Are you asking how I did or
22    Anadarko?
23    EXAMINATION BY MR. FINEMAN:
24             Q.        Right now I'm asking you how
25    Anadarko did.         I'm going to come to you

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 1    specifically.          Right now I'm asking you
 2    questions in your capacity as a 30(b)(6)
 3    witness.
 4             A.        Various members used it in all
 5    different ways.          Predominantly, they would
 6    use it to view the formation evaluation that
 7    BP had contributed or to track the daily
 8    operating steps, you know, what happened
 9    during the drilling of the previous time
10    period.
11            MS. WILMS:
12                   Just for the record, this is one
13    of the topics that another gentleman was
14    designated on as well.
15            MR. FINEMAN:
16                   Sure.
17    EXAMINATION BY MR. FINEMAN:
18             Q.        Were there policies or practices
19    for Anadarko's review of information
20    obtained via WellSpace?
21             A.        I'm not aware of any policies or
22    practices.
23             Q.        So was there a written policy or
24    a policy manual with respect to information
25    that was to be looked at from WellSpace?

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 1             A.        I'm not aware of any manual.
 2             Q.        Were specific Anadarko personnel
 3    tasked with downloading and reviewing
 4    specific types of information or reports?
 5             A.        Yes.
 6             Q.        Can you describe that for me?
 7             A.        Different members of different
 8    groups would download various reports for
 9    storage in their file systems, for their
10    well file.
11             Q.        Was there -- were specific
12    personnel expected to look at certain things
13    in WellSpace because of their expertise?
14            MS. WILMS:
15                   Object to form.
16            THE WITNESS:
17                   I don't know the answer to that.
18    EXAMINATION BY MR. FINEMAN:
19             Q.        Who is John Kamm?
20             A.        John Kamm is the Anadarko
21    operations geologist.
22             Q.        We've already talked about
23    Mr. Chandler.         Who is Sarah Chapman?
24             A.        Sarah Chapman, I recall, was
25    also an operations geologist.

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 1             Q.        Mr. Folger, Derek Folger, do you
 2    recall what his title was?
 3             A.        I don't recall his title.
 4             Q.        Do you know Bert Allbritton?
 5             A.        I know Bert Allbritton.
 6             Q.        And what was her title?
 7             A.        I don't know her title.
 8             Q.        Do you know what her discipline
 9    was?
10             A.        I want to say she was in
11    reservoir engineering.
12             Q.        You don't know for sure?
13             A.        I don't know for sure.
14             Q.        How about Forrest Burton, do you
15    know him?
16             A.        I know his name, yes.
17             Q.        Do you know what he did at
18    Anadarko?
19             A.        I do not.
20             Q.        Do you know -- do you have any
21    information about any of those individuals'
22    practices with respect to reviewing
23    information from WellSpace?
24             A.        I have some information, yes.
25             Q.        What information do you have?

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 1             A.        We spoke to them prior to -- in
 2    preparation for this and some of those
 3    individuals would download information to
 4    fill out their -- to put in the well files
 5    that their groups maintained.
 6             Q.        Let me see if I understand what
 7    you just said.          You spoke with some of those
 8    individuals, you personally?
 9             A.        Yes.     We had a meeting with
10    counsel and some of those members to prepare
11    for this meeting.
12             Q.        To prepare for this deposition?
13             A.        Yes.
14             Q.        Okay.      And who participated,
15    which ones of those individuals participated
16    in that discussion?
17             A.        John Kamm, Bert Allbritton, I
18    believe Derek Folger was in there.
19             Q.        You were all there together?
20             A.        There were several meetings at
21    different times.           Alan O'Donnell.
22             Q.        Alan O'Donnell was the asset
23    manager, correct?
24             A.        Right.
25             Q.        Sam Algranti?

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 1             A.        Sam Algranti, yes.
 2             Q.        He was there, too?
 3             A.        Yes.
 4             Q.        Brian O'Neill?
 5             A.        Brian O'Neill, yes.
 6             Q.        And was counsel present at all
 7    those meetings?
 8             A.        Yes.
 9             Q.        And without telling me what
10    counsel said or you said to counsel, what
11    was the general subject matter of those
12    meetings?
13             A.        The general subject matter of
14    those meetings was what information was
15    downloaded near the event.
16             Q.        Okay.      Near the event meaning
17    April 16, April 20?
18             A.        I don't recall the exact dates,
19    but up to the 20th.
20             Q.        All right.        So sitting here
21    right now as a 30(b)(6) witness for Anadarko,
22    what can you tell me about the kinds of
23    information that these people are
24    downloading approximate to the event?
25             A.        As I said, they would download

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 1     various files, for example, a geological
 2     report could get loaded into a well file for
 3     a record.       One person was providing a status
 4     update report, so they downloaded some
 5     information to provide that report just on a
 6     one-time occurrence.            Some downloaded actual
 7     log data to conduct analysis on the
 8     productive zone.          Those were the ones that I
 9     can think of right now.
10              Q.        What is a well file?
11              A.        A well file would be an
12     electronic folder in a common drive on the
13     Anadarko network where a group would store
14     files for the wells that they cover.
15              Q.        And was that information shared
16     within the company?
17              A.        It's available to be shared
18     within the company.
19              Q.        I want you to try for a minute
20     to separate out, if you can, what you learned
21     during this deposition preparation meeting
22     or meetings and what you knew at the time,
23     before April 20th.           Before April 20th, did
24     you know what other people were downloading
25     from WellSpace?

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 1              A.        No.
 2              Q.        Did you know about anybody's
 3     WellSpace activity other than your own?
 4              A.        No.
 5              Q.        Was there any method or
 6     practice -- strike that.
 7                    Did people who were downloading
 8     information from WellSpace circulate
 9     information or provide what they were
10     observing to others at Anadarko?
11            MS. WILMS:
12                    Object to form.
13            THE WITNESS:
14                    I don't know the answer to that.
15     EXAMINATION BY MR. FINEMAN:
16              Q.        During the daily drilling
17     meetings that you attended, you testified
18     already that you reported to the group based,
19     at least in part on information that you had
20     reviewed that you had downloaded from
21     WellSpace; correct?
22              A.        That's correct.
23              Q.        Was there anybody else
24     presenting at those meetings who had reviewed
25     information downloaded from WellSpace?

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 1              A.        For Macondo?
 2              Q.        Yes, sir.
 3              A.        No.
 4              Q.        And do you recall discussing
 5     with anybody else at Anadarko information
 6     that they had observed from the --
 7     information downloaded from WellSpace?
 8            MS. WILMS:
 9                    Object to form.
10            THE WITNESS:
11                    I don't recall any discussions
12     like that.
13     EXAMINATION BY MR. FINEMAN:
14              Q.        Do you have any memory of
15     discussing -- discussing any information
16     downloaded by Bert Allbritton?
17              A.        Can you repeat the question?
18              Q.        Sure.     Do you have any memory of
19     discussing with Bert Allbritton information
20     that she downloaded from WellSpace?
21              A.        I don't have any memory of that.
22              Q.        All right.       If you didn't
23     personally download a daily report, an
24     operations' report from WellSpace, did you
25     otherwise obtain it from any other source?

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 1            MS. WILMS:
 2                    Object to form.
 3            THE WITNESS:
 4                    I don't recall obtaining reports
 5     from any other source.
 6     EXAMINATION BY MR. FINEMAN:
 7              Q.        So if you read a daily report,
 8     it was because you downloaded it yourself?
 9              A.        That's generally correct.
10              Q.        How is it not completely
11     correct?
12              A.        It's completely correct.
13              Q.        Okay.     Were there specific days
14     of the week or times during a day when
15     Anadarko personnel were expected to be
16     reviewing information posted in WellSpace?
17            MS. WILMS:
18                    Object to form.
19            THE WITNESS:
20                    Can you repeat the question?
21     EXAMINATION BY MR. FINEMAN:
22              Q.        Were there specific days of the
23     week or times during a day when Anadarko
24     personnel were expected to be reviewing
25     information posted in WellSpace?

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 1              A.        I can only speak for myself and
 2     that --
 3              Q.        Go ahead.
 4              A.        -- and that would be to prepare
 5     for our morning meeting which occurs at
 6              7:30 a.m. every weekday.
 7              Q.        So you would -- if you
 8     downloaded something from WellSpace, you
 9     would do it first thing in the morning?
10              A.        I would download -- right, prior
11     to that meeting and that was -- that's what
12     would be expected.           And there are other
13     times when I could also download.
14              Q.        But you don't have any
15     information about the practices of others at
16     Anadarko?
17              A.        I don't.
18              Q.        During your predeposition
19     meeting, did you learn of the individual
20     practices of the other people who were
21     downloading information from WellSpace?
22              A.        I did not.
23              Q.        Was there a central location at
24     Anadarko for storing or maintaining
25     information downloaded from WellSpace?

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 1              A.        There are well files, as I
 2     described, on the common drive that
 3     different groups would contribute
 4     information from WellSpace to.
 5              Q.        Those were individual files,
 6     right?        There wasn't a single source?
 7              A.        There's not a single source that
 8     I'm aware of.
 9              Q.        Has Anadarko adopted any new
10     policies or procedures for downloading and
11     reviewing information from WellSpace since
12     April 20, 2010?
13            MS. WILMS:
14                     Object to form.
15            THE WITNESS:
16                     I'm not aware of any new
17     practices.
18     EXAMINATION BY MR. FINEMAN:
19              Q.        You started to testify a minute
20     ago about some of your personal practices
21     with respect to downloading information from
22     WellSpace.        And you mentioned that you would
23     do so in the mornings prior to your morning
24     meeting; correct?
25              A.        Correct.

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 1              Q.        I think you also referred to the
 2     notion that you could download at other
 3     times, too, if you chose to?
 4              A.        That's correct.
 5              Q.        Did you have any other personal
 6     practices for when you would download
 7     something from WellSpace?
 8              A.        Besides the morning, there was
 9     no regular set times that I would download.
10              Q.        Did you have any personal
11     practices with respect to taking notes or
12     preparing memoranda based on what you
13     reviewed?
14              A.        Nothing standard.
15              Q.        I think you mentioned a while
16     ago, earlier today, that you would
17     periodically take notes for purposes of your
18     morning presentation and then frequently toss
19     those notes.
20              A.        Correct.
21              Q.        If you had any of those notes
22     remaining, they would be in your files?
23              A.        Any notes remaining, I made
24     available to counsel and they're keeping
25     track of that data.

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